Case: 1:21-cv-06274 Document #: 1-1 Filed: 11/22/21 Page 1 of 8 PagelD #:12

Civil Action Cover Sheet - Case Initiation (12/01/20) CCL 0520

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
HM LAW DIVISION

Fkety. het

Medtronk, ' Medfronc USAT]
Hlebiven a By Legit CG ' No.
Qng Méetronc igohescet C

CIVEL ACTION COVER

A Civil Action Cover Sheet - Case Initiation shall be filed with the
complaint in all civil actions. The information conrained herein
is for administrative purposes only and cannot be introduced into
evidence. Please check the box in front of the appropriate case
type which best characterizes your action, Only one (1) case type
may be checks this cover sheer.

Jury Demand [Yes O No

PB WRONGFUL D

CASE TYPES: / (FILE STAMP)
0) 027 Motor Vehicle COMMERCIAL LITIGATION —
2040 Medical ice ,
O47 Asbests . CASE TPES:
(1048 Dram Sho £2002 Breach of Contract 4
. P 11070 Professional Malpractice “=?
37049 Product Liability (other than legal or medi cil).
41051 Conseruction Injuries 07 Fraud (other than legal o sgl
(including Structural Work Act, Road (1072 Consumer Frid
Construction Injuries Act and. negligence) (1073 Breach of Warranty
Q 052 Railroad/FELA (1074 Statutory Action
£1053 Pediatrié Lead Exposure (Please specify below.**)
O1061 Other Personal Injury/Wrongful Death (9075 Other Commercial Li tigation
9 063 Intentional Tort (Please specify below.**) a
[1064 Miscellaneous Statutory Action [3076 Reraliatory Dis charge
(Please Specify Below**) 7 .
(1065 Premises Liabiliry , ;
Q 078 Fen-phen/Redux Litigation OTHER ACTIONS
(9199 Silicone Implant CASE TYPES:
(3062 Property Damage
& MISCELLANEOUS DIE, C1066 Legal Malpractice
CASE TYPES: 1077 Libel/Slander
01007 Confessions of Fudgment [3079 Petition for Qualified Orders
€1 008 Replevin C1084 Petition to Issue Subpoena
[009 Tax QO} 100 Petition for Discovery
1015 Condemnation wee
C1017 Detinue

029 Unemployment Compensation
C1031 Foreign Transcript
{1036 Administrative Review Action

(3085 Petition to Register Foreign Pudgment . Secondary Email:
Gl o99 All Other Es ra0 ding ey Le

By: flG j LC & ‘Tertiary Email:
* Pro Se Only: MAI have read and agree to the cerms of the Clerks O ice Electronic Notice @) Eas, ae se ti opt in ¢o electroni notice
form the Cles the Cle ’s Office for this case at this email address: f ¢ ne

IRIS Y. MARTINEZ, CLERK OF THE CIRCUIT COURT ¢ OF 006% COUNTY, ILLINOIS

Page 1 of 1
Case: 1:21-cv-06274 Document #: 1-1 Filed: 11/22/21 Page 2 of 8 PagelD #:13

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

MARY BETH NICK, )
)

Plaintiff, )

)

VS. )
)

MEDTRONIC, INC; )
MEDTRONIC USA, INC,; )
MEDTRONIC PUERTO RICO )
OPERATIONS, CO.; and )
MEDTRONIC LOGISTICS, LLC; )
)

Defendants }

COM PLAINT

COMES NOW Plaintiff, Mary Beth Nick, pro se, and hereby complains against the
Defendants and requests a trial by jury as follows:

NTRODUCTI .

1. This is a product liability action brought by Plaintiff, Mary Beth Nick (hereinafter "Ms.
Nick"), seeking relief for the Defendants' negligence and strict liability arising from injuries
sustained as the direct and proximate result of a defective, implantable infusion pump system
manufactured, sold, and monitored by Defendants, Medtronic, Inc.; Medtronic USA, Inc.;
Medtronic Puerto Rico Operations, Co,; and Medtronic Logistics, LLC ("Medtronic"); and/or its
employees or agents, to Ms, Nick.

2. Implantable infusion pump systems include programmable pumps, medical devices that are
surgically implanted under the skin, typically in the abdominal region. In the systems, these
programmable infusion pumps are connected to implanted catheters and are used to deliver
medications and fluids within the body. Implantable infusion pumps are periodically refilled with
medications or fluids by a health care provider. Implantable infusion pumps may be used to treat
chronic pain, muscle spasticity, and many other diseases or conditions,

3. Medtronic is one of the world's largest medical device companies, and it has manufactured,
sold, and monitored a number of defective, implantable infusion pumps over the past thirty (30)
years, During this time period, Medtronic has been the subject of numerous warnings, recalls, and
complaints regarding their defective infusion pumps through the Food and Drug Administration
("FDA"),
Case: 1:21-cv-06274 Document #: 1-1 Filed: 11/22/21 Page 3 of 8 PagelD #:14

JURISDICTION AND VENUE

4. This action seeks relief in the form of monetary damages Ms, Nick suffered as a direct and
proximate result of a defective, implantable infusion pump system manufactured, sold to her, and
monitored by Medtronic.

3. Jurisdiction is conferred upon this Court by the Illinois Compiled Statutes (TLCS), codified
at 735 ILCS 5/2-209, At all times relevant hereto, Ms. Nick was a resident of Cook County,
I!inois. Further, at ail times relevant heyeto, Medtronic was actively selling implantable infusion
pumps and otherwise conducting business within the State of I!linais.

6. Venue is proper to Cook County pursuant to the [linois rules of trial procedure, as the
judicial district in which Ms. Nick resides and has resided at all times relevant hereto.
IURY DEMAND
7. Plaintiff demands a trial by jury in this action on each of her claims set forth herein.
PARTIES

8. At all times relevant hereto, Plaintiff Mary Beth Nick was a resident of Cook County,
located within the State of Illimois, and has continuously resided at either 402 Pleasant Drive,
Schaumburg, IL 60193, or 4949 N, Whipple Street, Chicago, IL 60625.

9. At all times relevant hereto, Defendant Medtronic, Inc., was engaged in the sale and
monitoring of implantable infusion pumps in the State of Ilinois. Medtronic, Inc.'s Principal
Executive Office is located at 20 Lower Hatch Street, Dublin 2, Ireland. Medtronic, Inc.'s
Operational Headquarters is located at 710 Medtronic Parkway, Minneapolis, Minnesota 55432.
Further, at all times relevant hereto, Medtronic was duly authorized to conduct business within the
State of Illinois, and was actively engaged, directly and/or through its employees and agents, in
business operations within the State of Illinois.

STATEMENT OF FACTS

10. Plaintiff incorporates and realleges by reference rhetorical paragraphs | through 9 as if they
were set forth fully herein.

11, Ms. Nick is a 62-year-old woman diagnosed with multiple sclerosis in 2000, About seven
years ago, Ms. Nick began ta experience spasticity, a condition in which there is an abnormal
increase in muscle tone or stiffness. She began to take baclofen, the medication typically prescribed
to treat spasticity. Ms. Nick found, though, that she could not tolerate side effects such as nausea,
dizziness and fatigue, which resulted when the baclofen was administered orally through tablets or

oral solution.

12. Ms. Nick consulted with her multiple sclerosis neurologist and learned that it was possible
Case: 1:21-cv-06274 Document #: 1-1 Filed: 11/22/21 Page 4 of 8 PagelD #:15

to have the baclofen administered intrathecally, directly into the spinal theca, through the use ofa
programmable intrathecal pump system, She Jearned that much smaller doses of baclofen would be
required for intrathecal administration than would be required for oral administration, thus limiting
the likelihood of the side effects she had been experiencing with the baclofen tablets and oral
solution,

13. On October 16, 2018, Ms. Nick had an epidural baclofen trial, and on October 17, 2018,
she had a Medtronic SynchroMed II programmable pump system (pump model 8637-40, serial
number NGV607403H) implanted by Sepehr Sani, MD, of Rush University Medical Center
(RUMC) in Chicago, Illinois.

14. Following the implantation of the SynchroMed II programmable pump system, Ms. Nick
worked with physiatrist Daniel Bunzol, MD, of RUMC on intrathecal baclofen dosing. For
approximately nine months, Dr. Bunzo] steadily recalibrated the SynchroMed I] programmable
pump to increase the dosage of baclofen delivered to the spinal theca, but Ms. Nick failed to
experience easing of her spasticity,

15, On August 12, 2019, when Dr. Bunzol was refilling the pump, interrogation of the pump
revealed residual volume of 3.1 mL, but when the needle was inserted into the fill port of the pump,
it withdrew 20 mL of residual baclofen, At no time had the pump sounded an alarm to indicate any
problem. Dr, Bunzol talked to Medtronic sales representative Steve Willuweit, who recommended
referral to Sandeep Amin, MD, of RUMC to troubleshoot the problem of interrogation vs. actual
residual volume.

16, On December 18, 2019, Dr. Amin performed a side-port myelogram under fluoroscopic
guidance to diagnose the problem with the Medtronic SynchroMed [I] programmable pump system.
When the contrast agent was injected into the side port of the Medtronic SynchroMed II
programmable pump, the contrast agent pooled under the pump itself, confirming discontinuity of

the catheter.

17. Immediately following the side-port myelogram, while in the recovery area of the hospital,
Ms, Nick mentioned to Dr. Amin that she had been experiencing months of symptoms of postural
orthostatic intolerance. A few weeks prior to the side-port myelogram, she had undergone a tilt-
table test as part of an effort to diagnose whether she had developed postural orthostatic tachycardia
syndrome. At that point, Dr. Amin explained that the postural intolerance may have come from
spinal fluid leaking out of the severed catheter.

18. On February 5, 2020, Dr, Amin revised the catheter under fluoroscopic guidance and
replaced the intrathecal pump, Op opening the pocket site, Dr. Amin noted completely severed
catheter distal to the sutureless connector piece that attaches to the pump. On the lateral edge of the
pocket he noted extensive twirling of the catheter and knotting with several centimeters of the
catheter intertwined and scarred dawn, Dr, Amin then did revision repair of the catheter and
replaced the old pump with qa new Medtronic SynchroMed IT pump (model 8637-40, serial number
Case: 1:21-cv-06274 Document #: 1-1 Filed: 11/22/21 Page 5 of 8 PagelD #:16

NGV711359H). All the explant specimens remain in the custody of the RUMC Pathology
Department.

19. The SynchroMed II infusion pump, model 8637-40, implanted into Ms, Nick, was
designed, manufactured, marketed, and sold by Defendant Medtronic.

20. The SynchroMed I] infusion pump, model 8637-40, implanted into Ms. Nick, was
monitored and periodically maintained by and/or under the supervision of Medtronic employees,
agents, and/or representatives,

21. As a direct and proximate result of the defective condition of the MedtronicSynchroMed II
infusion pump, model 8637-40, implanted into Ms. Nick, Ms. Nick suffered substantial medical
expenses, loss of the quality of life, severe pain and suffering, severe physical impairment, and
other damages.

CAUSES OF ACTION

22. Plaintiff incorporates and realleges by reference rhetorical paragraphs | through 21 as if
they were set forth fully herein.

23. Atall times relevant hereta, Defendant Medtronic had a duty to reasonably package, label,
and market the SynchroMed IT implantable infusion pump, model 8637-40, in a manner

that reasonably warned healthcare providers and users, including Ms. Nick, of the dangers of using
the product as it was intended and marketed to be used.

24. At all times relevant hereto, Defendant Medtronic had a duty to exercise reasonable
diligence in giving reasonably compiete instructions for proper use of the product to health care
providers and users, including Ms, Nick, and by making reasonably complete instructions and
warnings about the product available to healthcare providers and users, including Ms. Nick.

25, At all times releyant hereto, Defendant Medtronic had a duty to exercise reasonable care,
and to comply with the existing standards of care, in its preparation, design, research, development,
manufacture, inspection, labeling, marketing, promotion, and sale of implantable infusion pump
systems, which Defendant Medtronic introduced into the stream of commerce and sold in the State
of Illinois, including a duty to ensure that users would not suffer unreasonable, dangerous, and/or
severe physical and emotional harm.

26. Atal times relevant hereto, Defendant Medtronic prepared, designed, researched,
developed, manufactured, inspected, labeled, marketed, promoted, and sold the SynchroMed II
implantable infusion pump, model 8637-40, with a concealed danger to users, including Ms, Nick.

27. At all times relevant hereto, Defendant Medtronic knew or reasonably should have known
of the concealed danger.

28. At all times relevant hereto, Defendant Medtronic was negligent in failing to reasonably and
Case: 1:21-cv-06274 Document #: 1-1 Filed: 11/22/21 Page 6 of 8 PagelD #:17

adequately warn healthcare providers and users, including Ms. Nick, of that danger.

29. At all times relevant hereto, Defendant Medtronic had a duty to exercise reasonable care,
and to comply with the existing standards of care, in its preparation, design, research, development,
manufacture, inspection, labeling, marketing, promotion, and sale of implantable infusion pump
systems, which Defendant Medtronic iptraduced into the stream of commerce and sold in the State
of Illinois, including a duty to ensure that users would not suffer unreasonable, dangerous, and/or

severe physical and emotional harm.

30. Atal] times relevant hereto, Defendant Medtronic had a duty to comply with all applicable
codes, standards, regulations, testing standards and requirements, research standards, and
requirements, quality control standards and requirements, inspection standards and requirements,
labeling stands and requirements, promotion standards and requirements, and/or specifications
established, adopted, promulgated, or approved by the United States, the State of Illinois; or by any
agency of the United State or Illinois including the FDA.

31.  Atall times relevant hereto, Defendant Medtronic was negligent in failing to exercise
reasonable care and to comply with existing standards of care in its preparation, design, research,
development, manufacture, inspection, Jabeling, marketing, promotion, and sale of implantable
infusion pump systems.

32.  Atali times relevant hereto Defendant Medtronic was negligent in failing to exercise
reasonable care and in failing to reasonably and adequately comply with applicable codes,
standards, regulations, testing standards and requirements, research standards and requirements,
quality control standards and requirements, inspection standards and requirements, labeling stands
and requirements, promotion standards and requirements, and/or specifications established,
adopted, promulgated, or approved by the United States, the State of Illinois, or by any agency of
the United State or Ilinois including the FDA.

33. At all times relevant hereto, Defendant Medtronic was negligent in failing to reasonable and
adequately research, test, design, develop, manufacture, control, inspect, monitor, and/or otherwise
take reasonable precautions in the design, production, and manufacture of its implantable infusion
pumps systems to prevent unreasonable injuries to users, including Ms. Nick.

34. Plaintiff is in the class of persons that Defendant Medtronic should reasonably foresee as
being subject to the harm caused by its defective implantable infusion pump systems insofar as Ms.
Nick was the type of person for whom Defendant's implantable pump systems were intended to be

used,

35.  Atall times relevant hereto, Defendant Medtronic was engaged in the business of selling
implantable infusion pump systems, Defendant Medtronic designed, manufactured, and supplied
implantable infusion pump systems and placed them into the stream of commerce by selling
implantable infusion pump systems in a defective and unreasonably dangerous condition such that
the foreseeable risks of harm exceeded the intended benefits associated with the design and/or

formulation of the product.
Case: 1:21-cv-06274 Document #: 1-1 Filed: 11/22/21 Page 7 of 8 PagelD #:18

36. The implantable infusion pump system was expected to, and did, reach Plaintiff Ms. Nick
without substantial alteration in the condition in which the product is sold by Defendant Medtronic.

37.  Atall times relevant hereto, the jmplantable infusion pump system manufactured by
Defendant Medtronic was in an unreasonably dangerous and defective condition beyond the extent
contemplated by ordinary health care ‘providers and patients, including Ms. Nick, with ordinary
knowledge regarding these products,

38.  Atall times relevant hereto, Defendant Medtronic knew or reasonably should have known
of the unreasonably dangerous aiid defective condition of its implantable infusion pump systems
which it designed, manufactured, and s0Jd to healthcare providers and users, including Ms. Nick.

39. The unreasonably dangerous product defects alleged herein directly and proximately caused
Ms. Nick's injuries and damages including, without limitation, substantial medica! expenses, loss
of the quality of life, severe pain and suffering, severe and physical impairment, and other
damages.

JAMAGES

40. _ Plaintiff is seeking the following actual damages which are proximately caused by
Defendants! wrongful conduct: ,

Past and future medica] treatment;

Past and future mental anguish;

Past and future physical limitations;

Past and future pain and suffering;

Past and future physical scarring;

Lost wages and wage-earning capacity; and
Past and future loss of enjoyment of life.

meena

PRAY OR RELIEF

WHEREFORE, Plaintiff prays for judgment against the Defendants, as follows, appropriate to
each cause of action alleged and as appropriate to the particular standing of the Plaintiff:

i. General damages in an amount that will conform to proof at time of trial;

ii, Special damages in an amount within the jurisdiction of this Court and according to
proof at the time of trial;

ili. Loss of earnings and impaired earning capacity according to proof at the time of
trial;

iv, Medical expenses, past and future, according to proof at the time of trial;

v. For past and future mental and emotional distress, according to proof;

vi. Damages for loss of care, comfort, society, and companionship in an amount within

the jurisdiction of this Court and according to proof;
vii. For punitive or exemplary damages according to proof;
Case: 1:21-cv-06274 Document #: 1-1 Filed: 11/22/21 Page 8 of 8 PagelD #:19

viii. Restitution, disgorgement of profits, and other equitable relief;

ix. Injunctive relief;
x. Attorney's fees;
xi. For costs of suit ineprred herein;

xii, For pre-judgment interest as provided by law; and
oo TL For stich other and further relief as the Court may deem just and proper.

Respectfully submitted,

By: /s/ Mary Beth Nick

Mary Beth Nick, Plaintiff pro se
A402 Pleasant Drive
Schaumburg, JL 60193
(630-529-5616)

mbnick @shbeglobal .net
